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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Diana Natale ,

Plaintiff Pro Se

V.

BARSTOOL SPORTS,INC., DAVID PORTNOY
KIRK MINIHANE,STEVE ROBINSON, ue
JUSTIN TRUDELL,HARRISON MARKLOWSKY,

DCS INVESTAGATIONS

CHARLES CASTRO, MICHELLE LITTLEFIELD,

MOTION FOR SEQUESTRATION
OF WITNESSES

The Plaintiff moves, pursuant to Rule 615 of the FRE requires the Court to exclude
witnesses from the courtroom,to avoid having a witness color his testimony by
testimony of others. To prevent witnesses from shaping their testimony to match
another's and to discourage fabrication and collusion. The Plaintiff now ask, in the

interest of justice, that this motion also be impounded .
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Plaintiff further moves to ask the Honorable Court to order specific restrictions to
the an order that covers out of court communications . See: State v. Robinson ,895 F.#d

1206,1215 (2018)

Plaintiff prays upon the Honorable Court to allow this motion and the impounding
of motion, because of the nature of this complaint and the parties involved. If Motion is

denied,this will be all over the internet at first light possibly compromising the case.

By, Pro Se Litigant
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